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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION


MARIA NELSON, INDIVIDUALLY,          §
AND AS A REPRESENATATIVE OF THE      §
ESTATE OF ROSENDO ROEL,              §
DECEASED, AND JOSE ROEL,             §
                                     §
     Plaintiffs,                     §
                                     §       C.A. NO: _____________________
v.                                   §
                                     §
                                     §
UNION PACIFIC RAILROAD COMPANY,      §
and JOHN DOES,                       §
                                     §
     Defendants.                     §




                          EXHIBIT 1
                                                                                                              FILED
8 CIT ESERVE                                                                                      2/17/2021 4:43 PM
                                                                                                     FELICIA PITRE
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                                                                                                DALLAS CO., TEXAS
                                                                                         Belinda Hernandez DEPUTY




                                           NO. DC-20-11442

      MARIA NELSON, INDIVIDUALLY                  §   IN THE DISTRICT COURT
      AND AS REPRESENTATIVE OF THE                §
      ESTATE OF ROSENDO ROEL,                     §
      DECEASED, AND JOSE ROEL                     §
      Plaintiffs,                                 §
                                                  §
      V.                                          §   __68TH JUDICIAL DISTRICT
                                                  §
      UNION PACIFIC RAILROAD                      §
      COMPANY, ET AL                              §
      Defendant.                                  §   OF DALLAS COUNTY, TEXAS

                                PLAINTIFFS' AMENDED PETITION

      TO THE HONORABLE JUDGE OF SAID COURT:

             NOW COME Maria Nelson, Individually and as Representative of the Estate of

      Rosendo Roel, Deceased, and Jose Roel, hereinafter called Plaintiffs, complaining of

      and about Union Pacific Railroad Company (“Union Pacific”), Michael Soriano, Brandon

      Ramirez, Jonathan Redick, Jacob Stanford, James Phillips, B. L. Hughes, Charles

      Lucas, and Sam Embras, III, hereinafter called Defendants, and for cause of action

      show unto the Court the following:

                               DISCOVERY CONTROL PLAN LEVEL

             1.     Plaintiffs intend that discovery be conducted under Discovery Level 3.

                                     PARTIES AND SERVICE

             2.     Plaintiff, Maria Nelson, Individually and as Representative of the Estate of

      Rosendo Roel, Deceased is an Individual who may be served through her attorney of

      record, Jim Ross Law Group, P.C.

             3.     Plaintiff, Jose Roel, who may be served through her attorney of record,


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Jim Ross Law Group, P.C.5.

       4.     Defendant Union Pacific Railroad Company, a Nonresident Corporation,

may be served pursuant to sections 5.201 and 5.255 of the Texas Business

Organizations Code by serving the registered agent of the corporation, CT Corporation

System at 1999 Bryan Street, Suite 900, Dallas, Texas 75201, its registered office.

Service of said Defendant as described above can be effected by personal delivery.

       5.     Charles Lucas is an Individual who may be served through Whitney C.

Larkin and Ronnie Turner, Jr. of Union Pacific Railroad Company, 24125 Old Aldine

Westfield Road, Spring, Texas 77373. Service of said Defendant as described above

can be effected by personal delivery.

       6.     Michael Soriano is an Individual who may be served through Whitney C.

Larkin and Ronnie Turner, Jr. of Union Pacific Railroad Company, 24125 Old Aldine

Westfield Road, Spring, Texas 77373. Service of said Defendant as described above

can be effected by personal delivery.

       7.     Jacob S. Stanford is an Individual who may be served through Whitney C.

Larkin and Ronnie Turner, Jr. of Union Pacific Railroad Company, 24125 Old Aldine

Westfield Road, Spring, Texas 77373. Service of said Defendant as described above

can be effected by personal delivery.

       8.     Jonathan Redick is an Individual who may be served through Whitney C.

Larkin and Ronnie Turner, Jr. of Union Pacific Railroad Company, 24125 Old Aldine

Westfield Road, Spring, Texas 77373. Service of said Defendant as described above

can be effected by personal delivery.

       9.     James Phillips is an Individual who may be served through Whitney C.

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Larkin and Ronnie Turner, Jr. of Union Pacific Railroad Company, 24125 Old Aldine

Westfield Road, Spring, Texas 77373. Service of said Defendant as described above

can be effected by personal delivery.

         10.   B. L. Hughes is an Individual who may be served through Whitney C.

Larkin and Ronnie Turner, Jr. of Union Pacific Railroad Company, 24125 Old Aldine

Westfield Road, Spring, Texas 77373. Service of said Defendant as described above

can be effected by personal delivery.

         11.   Sam Embras, III is an Individual who may be served through Whitney C.

Larkin and Ronnie Turner, Jr. of Union Pacific Railroad Company, 24125 Old Aldine

Westfield Road, Spring, Texas 77373. Service of said Defendant as described above

can be effected by personal delivery.

         12.   Brandon Ramirez is an Individual who may be served through Whitney C.

Larkin and Ronnie Turner, Jr. of Union Pacific Railroad Company, 24125 Old Aldine

Westfield Road, Spring, Texas 77373. Service of said Defendant as described above

can be effected by personal delivery.

                                  JURISDICTION AND VENUE

         13.   The subject matter in controversy is within the jurisdictional limits of this

court.

         14.   Plaintiffs seek:

               a.     monetary relief over $1,000,000.

         15.   This court has jurisdiction over Defendant Union Pacific Railroad

Company, because said Defendant purposefully availed itself of the privilege of

conducting activities in the state of Texas and established minimum contacts sufficient

PLAINTIFFS’ AMENDED PETITION                                                               3
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to confer jurisdiction over said Defendants, and the assumption of jurisdiction over

Union Pacific Railroad Company will not offend traditional notions of fair play and

substantial justice and is consistent with the constitutional requirements of due process.

       16.    Furthermore, Plaintiffs would show that Defendant Union Pacific Railroad

Company engaged in activities constituting business in the state of Texas as provided

by Section 17.042 of the Texas Civil Practice and Remedies Code, in that said

Defendant committed a tort in whole or in part in Texas.

       17.    Venue in Dallas County is proper in this cause under Section 15.002(a)(1)

of the Texas Civil Practice and Remedies Code because all or a substantial part of the

events or omissions giving rise to this lawsuit occurred in this county.

                                          FACTS

       18.    On or about February 21, 2019, Rosendo Roel’s vehicle ran out of gas,

and he walked from his vehicle toward the 2800 blk of E. Main Street, Grand Prairie,

Texas where there was an industrial park with various body shop and car mechanic-

type businesses to likely fill up his gasoline can with gas to take back to his vehicle.

       19.    Rosendo Roel was seen walking near the tracks with a gas container by

witnesses in the industrial park. Approximately ten (10) minutes later, the witnesses

saw Rosendo Roel laying beside the railroad tracks and called 9-1-1.

       20.    Union Pacific Railroad Company’s train video footage from two separate

Union Pacific Railroad Company trains that were in operation on the tracks where

Rosendo Roel was found shows that Rosendo Roel was walking parallel from the tracks

at a distance that was far enough from the track that he was not in the path of the on-

coming train. The conductor of the train saw Rosendo Roel and sounded the train’s

PLAINTIFFS’ AMENDED PETITION                                                               4
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horn several times as the train approached Mr. Roel. The train’s video footage shows

that Rosendo Roel saw the approaching train, and took steps to walk farther away from

the train tracks as the train approached him. The video footage of the train that was

shown to Plaintiffs’ counsel does not show any further footage after the locomotive

passed Rosendo Roel.

       21.    Approximately thirty (30) minutes after the first Union Pacific Railroad

Company train passed Rosendo Roel, a second Union Pacific Railroad Company train,

heading in the same direction caught video footage of Rosendo Roel’s body laying near

the rail. The conductor of the second train called Union Pacific Railroad Company’s

dispatch to inform it that there was a body near the tracks.

       22.    Rosendo Roel was found nonresponsive with his body facing the South

and his face down, with his head next to the rail. His gas container was found nearby

his body, and his vehicle was found nearby the tracks out of gas.

       23.    When found, Rosendo Roel had five and one-half (5 ½) inch by one and

one-fourth (1 ¼) inch laceration from the right side of his forehead to the right parietal

scalp; a one-half inch red abrasion above his right eyebrow; a four (4) inch by one (1)

inch laceration with exposed brain tissue on the left fontal and parietal scalp; two three-

fourths (3/4) inch lacerations on the left parietal scalp; two five-eighths (5/8) inch

lacerations on his right parietal scalp; a one-fourth (1/4) inch laceration on his right

parietal scalp; and red-brown abrasions surrounding the lacerations on his scalp. The

Dallas County Medical Examiner found that Rosendo Roel died as a result of blunt force

injuries.

       24.    The Federal Railroad Administration Office of Safety Analysis listed the

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event which caused Rosendo Roel’s fatality as “struck by on-track equipment.”

       25.    Charles Lucas was an engineer of track maintenance for Union Pacific

Rail Road Company at the time of the incident and was responsible for ensuring the

track safety in the area; Michael Soriano was the manager of operating practices and

was responsible for ensuring the safe operation of Union Pacific’s locomotives in the

area of the incident; Jacob S. Stanford was the Engineer for the locomotive involved in

the incident and was responsible for operating the train in a safe and prudent manner,

James Phillips and B.L. Hughes were brakemen for the locomotive and were

responsible for the operation of the train in a safe and prudent manner; Sam Embras, III

was the Senior Manager of Train Operations and was responsible for ensuring that the

track and locomotive maintenance was performed pursuant to the Texas and Federal

laws as well as pursuant to the policies and procedures of Union Pacific Railroad

Company; Jonathan Redick and Brandon Ramirez were the Risk Management

Managers of Union Pacific Railroad Company and was responsible for the company

and it’s employees to operate the locomotives and maintain the company’s tracks in a

manner to adhere to the company’s policies and procedures as well as Texas and

Federal laws as well as enforce those policies and procedures to limit risk of harm to

individuals, including the Decedent, Roel.. These defendants were employees of Union

Pacific Railroad Company who were employed at the time of the incident subject to this

suit to operate, inspect, and ensure that the locomotive and accompanying train cars on

the train that is subject to this suit were loaded and secure in a manner to prevent harm

to individuals who may have been near the locomotive and to ensure that there were no

harmful objects on or near the railroad tracks that could cause harm to individuals who

PLAINTIFFS’ AMENDED PETITION                                                            6
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were near a passing locomotive.

       26.    Employees of Union Pacific, had a duty to exercise the degree of care that

a reasonably careful person would use to avoid harm to others under circumstances

similar to those described herein. Their duty was to ensure that the locomotive and/or its

train cars were secure with no equipment which could come off of or away from the

locomotive or cars and strike Mr. Roel.

                                      NEGLIGENCE
                                     (All Defendants)

       27.    Plaintiffs incorporate by reference each and every allegation contained

within the above paragraphs as if fully set forth herein.

       28.    Union Pacific Railroad Company and its employees were negligent with

respect to one or more of the following acts and omissions:

       a) a) Failing to properly train its employees who loaded, inspected, and operated

       the train;

       b) Failing to properly supervise employees who loaded, inspected, and operated

       the train;

       c) Encouraging its engineers and/or conductors to drive trains through Grand

       Prairie, Texas at an excessive rate of speed given the circumstances;

       d) Failing to properly secure its property and/or railroad tracks from known

       pedestrian traffic;

       e) Failing to maintain its property in a safe condition;

       f) Failing to use reasonable or ordinary care to control the risk of harm or

       dangerous condition presented to pedestrians, which greatly outweighed both the


PLAINTIFFS’ AMENDED PETITION                                                               7
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       utility to the defendant in maintaining the condition and the burden of the

       defendant of eliminating the danger created by the condition; and/or

       g) Failing to warn pedestrians known to be upon Union Pacific property

       and Union Pacific Railroad Company tracks.

       h) Failing to ensure that Union Pacific Railroad Companies were operating the

       locomotive and tracks in a manner that adhered to Texas and Federal laws and

       Union Pacific Railroad Company’s policies, procedures, including its Risk

       Management policies; and

       i) Failing to ensure that no on-track equipment would detach from the locomotive

       and/or railcars or reach out from the locomotive and/or cars in a manner which

       would cause harm to individuals near the train tracks and/or locomotive and

       railcars.

       29.    In addition, the Union Pacific Railroad Company employee defendants,

Michael Soriano, Brandon Ramirez, Jonathan Redick, Jacob Stanford, James Phillips,

B.L. Hughes, Charles Lucas, and Sam Embras, III had a duty inspect, and operate the

train, its cars, and track in a safe and prudent manner under the circumstances, as well

as ensure that the employees of the company were loading and securing the train and

its cars in a safe manner that would prevent any piece of equipment on the tracks from

hitting individuals, such as Decedent, Roel, causing harm. Their failure to do so

constituted negligence which was a proximate cause of the incident and Plaintiffs’

damages.




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       30.    Furthermore, Union Pacific Railroad Company is vicariously liable with

respect to any negligence on the part of its employees, including the engineer,

conductor, and/or any other individual whose job duty was to secure the locomotive and

train cars to ensure that no parts or equipment would be capable of striking a passing

pedestrian. This is due to the fact that such employees of Union Pacific were loading,

inspecting, driving and operating the train in the course and scope of their employment

for Union Pacific at the time of the incident. Therefore, Union Pacific is liable for all

damages herein pursuant to the doctrine of respondeat superior.

       31. The conduct, or misconduct, of Union Pacific and John Does in this regard

constituted negligence which was a proximate cause of the incident and Plaintiffs’

damages.

                                 GROSS NEGLIGENCE

       32.    Plaintiffs incorporate by reference each and every allegation contained

within the above paragraphs as if fully set forth herein.

       33.    Plaintiffs would show that Defendant as herein alleged acted with gross

negligence.    Defendants’ conduct amount to gross negligence under Texas Civil

Practice & Remedies Code § 41.001(7)(B) because Defendants’ conduct, when viewed

objectively from the standpoint of the Defendant, involved an extreme degree of risk,

considering the probability and magnitude of the potential harm to the motoring public

and specifically to Rosendo Roel; and Defendants had actual and subjective awareness

of the risk involved, but nevertheless proceeded with conscious indifference to the

rights, safety, and/or welfare of the public and specifically to Rosendo Roel.



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                               RESPONDEAT SUPERIOR

       34.    Plaintiffs incorporate by reference each and every allegation contained

within the above paragraphs as if fully set forth herein.

       35.    At the time of the occurrence of the act in question and immediately prior

thereto, Union Pacific employees were within the course and scope of employment for

Defendant Union Pacific Railroad Company.

       36.    At the time of the occurrence of the act in question and immediately prior

thereto, Union Pacific employees engaged in the furtherance of Defendant Union Pacific

Railroad Company's business.

       37.    At the time of the occurrence of the act in question and immediately prior

thereto, employees of Union Pacific were loading, inspecting, driving and operating the

train in the course and scope of their employment for Union Pacific at the time of the

incident.

       38.    Plaintiffs invoke the doctrine of Respondeat Superior as against

Defendant Union Pacific Railroad Company.

      CAUSE OF ACTION UNDER THE TEXAS WRONGFUL DEATH STATUTE

       39.    Plaintiffs incorporate by reference each and every allegation contained

within the above paragraphs as if fully set forth herein.

       40.    Plaintiffs Jose Roel and Maria Nelson, Individually, are entitled to bring an

action for wrongful death pursuant to Tex. Civ. Prac. & Rem. Code Ann. § 71.001, et

seq. (West 2007), by virtue of the fact that Plaintiffs are the surviving biological and

legal children of Rosendo Roel, Deceased. As a direct and proximate result of the

Defendants' negligent and grossly negligent conduct, Rosendo Roel was injured and

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killed. At the time of his death, Rosendo Roel was in excellent health and had a close

and loving relationship with his children. Plaintiffs seek to recover a sum of money that

will fairly and reasonably compensate them for their pecuniary loss resulting from the

death of Rosendo Roel, including the following elements: care, maintenance, support,

service, counsel and contribution of a pecuniary value that Plaintiffs, in reasonable

probability, would have received from Rosendo Roel for the remainder of his life had he

lived. Plaintiffs also seek fair and reasonable compensation for their past and future

mental anguish, loss of consortium, and other intangible damages which Plaintiffs are

entitled to recover as a result of the wrongful death of Rosendo Roel.

                   CAUSE OF ACTION UNDER TEXAS SURVIVAL ACT

       41.    Plaintiffs incorporate by reference each and every allegation contained

within the above paragraphs as if fully set forth herein.

       42.    Plaintiff, Maria Nelson, as Representative of the Estate of Rosendo Roel,

also brings this suit in her capacity as personal representative of her father’s estate in

order to recover for the severe physical pain and mental anguish which Rosendo Roel

consciously suffered prior to his death, including damages which Rosendo Roel could

have recovered as a plaintiff if he had survived, in addition to reasonable funeral and

burial expenses.

                               REQUEST FOR DISCLOSURE

       43.    Under Texas Rule of Civil Procedure 194, Plaintiffs request that the

Defendants disclose, within 50 days of the service of this request, the information or

material described in Rule 194.2.



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                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, Maria Nelson, Individually and as Representative of the

Estate of Rosendo Roel, Deceased, and Jose Roel respectfully requests that this case

be tried by jury, and that Plaintiffs have final judgment against Defendants, jointly and

severally, for all actual and compensatory damages, exemplary damages in the greatest

amount allowed by law, pre-judgment and post-judgment interest at the highest rate

allowed by law, and court costs, as well as such other and further relief, both legal and

equitable, general and special, to which Plaintiffs may show themselves justly entitled.



                                         Respectfully submitted,



                                         By: /s/ Amy M. Lorenz
                                              Amy M. Lorenz
                                              Texas Bar No. 24073712

                                              JIM ROSS LAW GROUP, P.C.
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                                              Attorneys for Plaintiffs



                   PLAINTIFFS HEREBY DEMAND TRIAL BY JURY




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Leslie Cisnero on behalf of Amy Lorenz
Bar No. 24073712
lcisnero@jimrosslaw.com
Envelope ID: 50685131
Status as of 2/18/2021 9:22 AM CST

Associated Case Party: UNION PACIFIC RAILROAD COMPANY

Name                 BarNumber   Email                   TimestampSubmitted     Status

Richard Warbritton               rawarbri@up.com         2/17/2021 4:43:52 PM   SENT

Patty Cuppernull                 phcuppernull@up.com 2/17/2021 4:43:52 PM       SENT

Whitney CLarkin                  wclarkin@up.com         2/17/2021 4:43:52 PM   SENT

Ronnie Turner Jr                 rturner@up.com          2/17/2021 4:43:52 PM   SENT



Case Contacts

Name        BarNumber Email                          TimestampSubmitted Status

JIM ROSS                 litigation@jimrosslaw.com   2/17/2021 4:43:52 PM   SENT
